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                                   STATEMENT OF FACTS

       Your affiant, Casey Biagiotti, is a Special Agent assigned to the Joint Terrorism Task Force
(“JTTF”) of the Boston division of the Federal Bureau of Investigation (“FBI”). In my duties as a
Special Agent, I have participated in criminal investigations relating to violent crime and
counterterrorism, specifically domestic terrorism. Through my training and experience, I am
familiar with the strategy, tactics, methods, ideology and practices of domestic terrorism and anti-
government extremists. Currently, I am tasked with investigating criminal activity in and around
the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                        IDENTIFICATION OF JOSEPH ROBERT FISHER

       1.      On April 12, 2022, FBI San Antonio provided FBI Boston with images and video

footage of an unknown male wearing a beanie with the logos of several Boston sports teams

unlawfully present in the U.S. Capitol, engaged in a physical altercation with a U.S. Capitol Police

Officer. The referenced images and video footage were found via open-source searches and

publicly-available footage.


       2.      Information obtained by the FBI on Joseph Robert Fisher, DOB; XX/XX/1971,

indicated prior employment in the Boston Police Department as a Boston Police Officer.

Investigators obtained a Massachusetts driver’s license photograph of Fisher and displayed it along

with the images and videos of Fisher inside the restricted perimeter of the U.S. Capitol (see ¶ 41)

to a current Boston Police Officer (“Witness 1”). Witness 1 positively identified the driver’s

license photograph and the individual inside the restricted perimeter of the U.S. Capitol as Joseph

Fisher. Witness 1 is familiar with Fisher based upon prior professional interactions and has known

Fisher for more than five years.


       3.      Further checks on Fisher identified telephone phone number, XXX-XXX-6808

(“6808”) as belonging to Fisher. According to records obtained through a search warrant which

was served on AT&T on January 6, 2021, in and around the time of the incident, telephone number

6808 was identified as having utilized a cell site consistent with providing service to a geographic

area that included the interior of the United States Capitol building. Additionally, telephone

number 6808 was queried through SPLUNK's U.S. Capitol geofence database which positively
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identified telephone number 6808, IMEI 3532570744718443 1, which is an Apple iPhone 6s, as

being inside of the U.S. Capitol on January 6, 2021.


          4.     According to records obtained through a subpoena served on AT&T, subscriber

information for telephone number 6808, IMEI 3532570744718443, lists Joseph R Fisher as the

account owner, with a service start date of 11/04/2015. Joseph R Fisher was the subscriber for

telephone number 6808 on January 6, 2021.


          5.     Your affiant is also familiar with Fisher’s appearance from reviewing his image

from Massachusetts Department of Motor Vehicles records and open-source images.


          6.     As seen in the below referenced images, the center photo is a license photo of

Fisher. Your affiant compared the photo from Fisher’s driver’s license to the two images of Fisher

on the left which depict Fisher in the area of the Washington Monument, and the two images of

Fisher on the right which depict Fisher on the exterior of the Senate Wing Door on the North side

of the U.S. Capitol. Your affiant believes all photos referenced below depict the same individual,

Joseph Robert Fisher.




1
    An IMEI is a 15-17 digit code given by service providers to uniquely identify a specific device.
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       7.      Investigators reviewed both open-source media and CCTV video footage of the

events that took place in the U.S. Capitol on January 6, 2021.


       8.      In the morning of January 6, 2021, Fisher attended the former President’s rally on

the national mall in Washington, D.C. As can be seen from the still frames below, which were

taken from the YouTube clip, “Early morning Washington Monument Save America March

Trump 1.6.20 DC” which has since been removed, Fisher is observed standing in the crowd in the

area of the Washington Monument. (Images 1-3). Fisher is wearing a red-colored North Face

jacket, glasses, and a dark beanie with the logos of several Boston sports teams on the front. Also

visible is a light brown/yellow on the exterior and black on the interior, colored hood.




                                                 Image 1
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                  Image 2                                        Image 3

                            Image 5                       Image 6
       9.     On January 6, 2021, Fisher is present on the exterior of the Senate Wing Door on

the North Side of the U.S. Capitol Building. Fisher is wearing the same red North Face jacket,

glasses, and a dark beanie. (Images 4-6).




                                            Image 4
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                        Image 5                                    Image 6


       10.       Based on CCTV footage obtained from the Capitol Police, Fisher entered the U.S.

Capitol at approximately 2:24 P.M. via the Senate Wing Door on the North side of the U.S. Capitol.

(Images 7, 8).
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                     Image 7                                            Image 8
       11.    From the Senate Wing Door, Fisher walked to the Crypt, entering at approximately

2:26 PM. Fisher appeared to take out his phone and record photos or videos. (Image 9).




                                           Image 9
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       12.     From the Crypt, Fisher entered the East Crypt Lobby at approximately 2:29 PM.

(Image 10). Immediately prior to Fisher entering the East Crypt Lobby, rioters breached the door

depicted in the still frame image.




                                        Image 10
       13.     From the East Crypt Lobby, Fisher entered the Upper Orientation Lobby of the

Capitol Visitor’s Center at approximately 2:35 PM. (Images 11, 12).




               Image 11                                           Image 12

       14.     According to U.S. Capitol Police CCTV footage, Fisher entered the House side of

the Capitol Visitor Center’s Orientation Lobby at approximately 2:37 PM. At approximately 2:38

PM, Fisher approached the cement pillars on the right side. At around this time, a physical
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altercation began between rioters and U.S. Capitol Police Officers. Another rioter sprayed a

chemical irritant (such as pepper spray or mace) at the U.S. Capitol Police Officers. A U.S. Capitol

Police Officer, (“the Victim”) wearing a bright yellow vest, began to pursue the rioter who

deployed the pepper spray down the right side of the hallway. At approximately 2:39 PM, Fisher

pushed a chair into the Victim as the Victim was running. (Image 13).




                                            Image 13

       15.     At approximately 2:40 PM, Fisher engaged in a physical assault against the Victim,

which ended with Fisher on the ground and out of the camera frame. (Image 14).
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                                             Image 14

       16.     Investigators verified with the U.S. Capitol Police that the Victim physically

assaulted by Fisher is a U.S. Capitol Police officer and obtained the Victim’s identity. Investigators

subsequently interviewed the Victim, who positively identified himself as the officer in the yellow

vest, and recalled being hit with a chair. At the time of the interview, the Victim was unable to

recall who had hit him with the chair or the specifics of the altercation with Fisher.

       17.     At approximately 2:42 PM, Fisher exited the U.S. Capitol via the Senate Wing

Door on the North side of the Capitol. (Image 15).
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                                                 Image 15

       18.     Based on the foregoing, your affiant submits that there is probable cause to

believe that Joseph Robert Fisher violated 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a

crime to (1) knowingly enter or remain in any restricted building or grounds without lawful

authority to do; (2) knowingly, and with intent to impede or disrupt the orderly conduct of

Government business or official functions, engage in disorderly or disruptive conduct in, or

within such proximity to, any restricted building or grounds when, or so that, such conduct, in

fact, impedes or disrupts the orderly conduct of Government business or official functions; and

(4) knowingly engages in any act of physical violence against any person or property in any

restricted building or grounds; or attempts or conspires to do so. For purposes of Section 1752 of

Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a

building or grounds where the President or other person protected by the Secret Service,

including the Vice President, is or will be temporarily visiting; or any building or grounds so

restricted in conjunction with an event designated as a special event of national significance.
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         19.   Your affiant submits there is also probable cause to believe that Fisher violated 40

U.S.C. § 5104(e)(2)(D), (F), and (G), which makes it a crime to willfully and knowingly (D)

utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any

place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly

conduct in that building of a hearing before, or any deliberations of, a committee of Congress or

either House of Congress; (F) engage in an act of physical violence in the Grounds or any of the

Capitol Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

         20.   Your affiant submits there is probable cause to believe that Fisher violated 18

U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,

impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful

performance of his official duties incident to and during the commission of a civil disorder which

in any way or degree obstructs, delays, or adversely affects commerce or the movement of any

article or commodity in commerce or the conduct or performance of any federally protected

function. For purposes of Section 231 of Title 18, a federally protected function means any

function, operation, or action carried out, under the laws of the United States, by any department,

agency, or instrumentality of the United States or by an officer or employee thereof. This

includes the Joint Session of Congress where the Senate and House count Electoral College

votes.

         21.   Finally, based on the foregoing, your affiant submits that there is probable cause

to believe that Joseph Fisher violated 18 U.S.C. § 111(a)(1), which makes it a crime to forcibly

assault, resist, oppose, impede, intimidate, or interfere with any person designated in section

1114 of this title while engaged in or on account of the performance of official duties.
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                                                    _________________________________
                                                    Casey Biagiotti
                                                    Special Agent
                                                    Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this ___27th__ day of March 2023.
                                                                      2023.03.27
                                                                      12:27:38 -04'00'
                                                    ___________________________________
                                                    HON. ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
